Case 2:04-cr-20364-SH|\/| Document 48 Filed 05/12/05 Page 1 of 2 Page|D 56

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04~20364~01-Ma

VS.

WILLIAM M. BERRY,

~_4~_/~_/--_/~.¢~_./~._/\_/\_/

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on May ll, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, William M. Berry, appearing in person and with
appointed counsel, Mr. Needum Louis Germany, III.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, August 19, 2005
at 11:30 a.m“

The defendant is remanded to the custody of the United States
Marshal.

114
ENTERED this the l day of Mayr 2005.

J¢W'/'Li__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Tmsdocumentenwredonthedccke?§hemincunu§mnce

Wirh mla 55 and/or 32<b} axch Un __'_]_(¢;o$_ @

UNITD sATEs ISTRIC CoURT - WEERN DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CR-20364 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

